Case 2:05-cr-20l44-.]PI\/| Document 18 Filed 06/16/05 Page 1 of 2 Page|D 22

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United States District Court 55 gun §§ ;,,,_ _
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Western District of Tennessee

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U.S.A. vs. Angelina Granata Docket No. 05-20144-01-ML

Petition for Action on Conditions of Pretrial Release

COMES NOW PRETRIAL SERVICES OFFICER Murray Fullner presenting an official report upon the conduct
of defendant who was placed under pretrial release supervision by the Honorable Diane K. Vescovo sitting in the
court at Memphis, Tennessee, on the 16th clay of May, 2005, under the following conditions:

1) Report as directed by the Pretrial Services Office, 2) Restricted in residence and travel to the Western District
of Tennessee, 3) Refrain from any unlawful use or possession of a controlled substance, 4) Submit to substance
abuse testing as required by Pretrial Services, 5) Participate in a program of substance abuse education, testing or
treatment if deemed advisable by Pretrial Services, 6) Participate in electronic monitoring program as directed by
Pretrial Services, and 7) Placed in the custody of her mother, Maxine Granata, who agrees to a) supervise the
defendant in accordance with all conditions of release, b) to use every effort to assure the appearance of the
defendant1 and c) to notify the court immediately if the defendant violates any condition of release.

RESPECTFULLY FRESENTING PETIT|ON FOR ACT]()N OF COURT AND FOR CAUSE AS FOLLOWS:

Angelina Granata has violated the standard condition, “The defendant shall not commit any offense in violation
of federal. state or local law while on release in this case,” and the special condition, “Refrain from any unlawful
use or possession of a controlled substance,” as follows. On June 11, 2005, Angelina Granata was arrested by
the Memphis Police Department for Possession of Methamphetamine. According to the affidavit of complaint, a
search of Angelina Granata’s residence of 3450 Hardin revealed a container on the defendant’s dresser that
contained .2 grams of methamphetamine Bond is set at $100 and the matter is currently set for July l 1, 2005, in
Shelby County General Sessions Court.

PRAYING THAT THE COURT WILL ORDER the issuance of a warrant so that Angelina Granata may appear
and show cause as to why her pretrial release should not be revoked.

Bond Recommended: NONE

ORDER OF COURT

Considered and ordered this l §

day of _ , 2005 , and ordered filed
and made part of the records in the above case.

l declare under penalty of perjury that the
foregoing is true and correct.

Executed on June 13, 2005

 

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U.S. Magistrate .Indge

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with Hule 55 and/or 32(|3) FRCrP nn § '

Supervisory U.S. Pretrial Services Officer

Place Memphis, Tennessee

 

UNITED sTATE ISTRIC COUR - W'"ERNT D's'TRCT oFTENNESSEE

     

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 18 in
case 2:05-CR-20144 Was distributed by faX, mail, or direct printing on
J unc 16, 2005 to the parties listed.

 

 

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Honorable .l on McCalla
US DISTRICT COURT

